Cage 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/14/08 Page 1 of 39

_ SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

= ON. tf for, I a. hh ‘ | c e_ RECEIVED a 15-MINUTE BLOCK
-.” PRINTNAME- -
, TRAINING ON POLICY ‘AND PROCEDURE, HOSTAGE SITUATIONS; ‘DURING THE 2300/0700 ©
. HOUR SHIFTS BRIEFING.

“DEPUTY SIGNATURE AND BADGE NUMBER”

SHIFT SUPERVISORSANSTRUCTOR
SGT. LESLIE MATHIS #228
SGT. NATHAN ELLSBERRY #231

Case 1:05-cv-00326-LG-JMR | Document 77-3 Filed os/{4/08 © Page 2 of 39 |
— SHIFT TRAINING.

POLICY ANBPROCEDURE DIREGHYE.

- On: Sepieinber” 1, 2004, I { . : \ L 2 { ae _. reteived a 15-
Minute Block Training, From The Policy And Procedure Directive On special Needs
~ Inmates, During The 2245- 0700-Hour Shift Briefing. wo

DEPUTY. SIGNATURE AND BADGE NUMBER:

" Sgt, Nathan Ellsberry #231. -
- Supervisor / Instructor

Set. Dedri Caldwell #314
Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR Document 77-3 Filed os/i4/o8 Page 3 of 39 »

HARRISON COUNTY SHERIFE’S DEPARTMENT
TRAINING ATTENDENCE RECORD

“Ron eel ATTENDED A'TRAINING CLASS
OWAME)C a

oA sD crm OH

: TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE: KA

NAME OF CERTIFYING INDIVIDUAL: __ >&Zan-22¢ Lees
(PRINT)

_ Case 1:05-cv-00326-LG-JMR Document 77-3 Filed os/14/08 Page 4 of 39

ACKNOWLEDGEMENT RECEIPT —

4, Ben nH Tee. i __, have this-date received the following -
Grint fall name)” oo . oe

document(s) from mn SL Mel anope 7 23: oa.
(officer/supervisor). a,

[]} Narrative(s)
_ [J Informal Counseling
[—] Formal Written Counseling ©

[| Intent to Initiate Corrective Measures

Dd Policy on Personnel Records . ‘
(Officer Signature) -
iv o4
(ate) —
cc: Major Riley
Capiain Taylor:

Personnel File
Case 1:05-cv-00326-LG-JMR . Document 77-3 Filed 08/14/08 Page 5 of 39

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

: \ MONA |}ee | ATTENDED A TRAINING CLASS

“TITLED _. Gang usa ne 55 __

on. i 7 @t./ 2004 AND RECEIVED

-. TRAINING CREDIT HOUR (S)/MINUTE(S).

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Case 1:05-cv-00326-LG-JMR Document 77-3

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Clagett:

Filed 08/14/08

‘Board.on J ail Officer ‘Standards and Training

Hereby. awards this

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mn

TO.

RYAN MICHAEL TEEL
oe XXX-XX-XXXX

6-LG-.

STE SEEES EES Eee

y

This. 1* day of September, 2003
As being qualified to be a Mississippi Detention Officer under
Provisions of Chapter 482, General Laws of Mississippi, 1999,

z MWD sx ,

a Director Chairman
i D-01430 Board on Jail Officer Boafd on Jail Officer
Certificate No. = . OS a Standards and Training. ‘ Standards and Training

SSS SSSA

Filed 08/14/08 | Page 8 of 39°

“INMATE UNIFORM & HY GIENE 1SSUANCE”
POLICY AND PROCEDURE DIRECTIVE

. ON 02 MAY 2001 1 Bya n MME ___ (PRINT NAME)! DURING »
THE SHIFT verve FOR THE 1845-0700 HOURS SHIFT RECEIVED A 10
MINUTE BLOCK. OF INSTRUCTION REVIEW CONCERNING, “INMATE

UNIFORM & HYGIENE ISSUANCE”. POLICY AND PROCEDURE DIRECTIVE

CONDUCTED BY SGT STEUBE #154,

02 MAY 2001
. ‘Case. 1: 05- -cv-00326-L6-JMR Document 77-3 Filed 08/14/08 | Page 9 of 39

“TELEPHONE USAGE”
POLICY AND PROCEDURE DIRECTIVE

. ON 29 APRIL 2001 I, Dep Ryon Teel ME _@RINT NAME),
DURING THE SHIFT BRIEFING FOR THE 1845- 0700 HOURS SHIFT RECEIVED A

10: MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “TELEPHONE |
USAGE” POLICY AND PROCEDURE DIRECTIVE CONDUCTED: BY SGT STEUBE

. 54,

(DEPUTY! S SIGNATURE).
29 APRIL 2001
Case. 1:05-cv-00326-L6- JMR Document 77-3 Filed 08/14/08 Page 10 of 39

“SECURITY —~ JPERVISION OF HOL. «NG CELLS”
POLICY AND PROCEDURE DIRECTIVE

ON 28 APRIL 2001 I Dep Riper BL) Ie. (PRINT NAMB) _
_. DURING THE SHIFT BRIEFING FOR THE 1845- 0700 HOURS SHIFT RECEIVED A
"10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “SECURITY
" SUPERVISION OF HOLDING CELLS” POLICY AND PROCEDURE DIRECTIVE

CONDUCTED BY.SGT STEUBE #154.

Dep 4 Ryo call

(DEPUTY S SIGNATURE).
~ 28 APRIL 2001 °
Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/14/08 Page 11 of 39
— “SPECIAL NEEDS INMA‘1 .S” »
POLICY AND PROCEDUR DIRECTIVE

- ON27 APRIL 20011 Dep Py Teel ZS. (PRINT NAME)
DURING THE SHIFT BRIEFING FOR THE 1845- 0700 HOURS SHIFT RECEIVED A ~
10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “SPECIAL
NEEDS INMATES” POLICY AND PROCEDURE DIRECTIVE CONDUCTED BY

SGT STEUBE #154.

_(DEPUTY’S SIGNATURE)
27 APRIL 2001

Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/44/08 | Page 12 of 39

“INMATE CUSTODY RECOKDS”
POLICY AND PROCEDURE DIRECTIVE

‘ON 23 APRIL 2001 1, Dep. Ryan eel ys (RINT NAME)

a DURING THE SHIFT BRIEFING FOR THE 1845- 0700 HOURS SHIFT RECEIVED A
10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “INMATE

: ‘CUSTODY RECORDS” POLICY AND PROCEDURE DIRECTIVE CONDUCTED .

. BY SGT STEUBE #154,

hs Us

(oEPOTY S SIGNATURE)
23 APRIL 2001 °

Case 1:05-cv-00326-LG-JNAK EX-GONER O22 08/14/08 ‘Page 13 of 39
POLICY AND PROCEDURE DIK“CTIVE:

-ON 1 APRIL 2001 I; Rp Rom “Teed figs _ __ |) _@Rmt NAME)

DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED A

10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING; “REY
“CONTROL” POLICY AND PROCEDURE, DIRECTIVE CONDUCTED BY SGT

| STBUBE #154. en ae Loe ie

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ve tye cles

one SIGNATURE)
19-APRIL 2001

Case 1:05-cv-00326- LG-JMR Document 77-3 Filed 08/4/08 _ Page 14 of 39
=) = €ORCED CELL MOVES”

POLICY AND PROCEDURE DII ECTIVE

ON MAY03,2001 L yo. Te: (PRINT NAME) DURING THE.
SHIFT BRIEFING FOR THE 1845. 0700. HOURS SHIFT RECEIVED A 10.
_ MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “FORCED.CELL *

MOVES “POLICY AND PROCEDURE DIRECTIVE CONDUCTED BY
SGT. STBUBE. #154

afi

(DEPUTY SIGNATURE)
03 MAY 2001

Case 1:05-cv-00326-I(G-JMR Document 77-3 Filed 0/14/08 Page 15 of 39

PROFESSIONAL STANDARDS DIVISION
By: Inv. April Kriegefy-

On June 12, 2001, Investigator April Krieger reviewed the department policies and
procedures for’ Use of Force (General Order #10 and Corrections Policy & Procedure —
Directive) with Deputy Coley Judy and Ryan Teel: “The. importance of teamwork to
. handle a combative inmate was specifically addressed.
Case 1:05-cv-00326-L'G-JMR Document 77-3 Filed 08/14/08 Page 16 of 39

‘SHIFT TRAINING —

POLICY AND PROCEDURE DIRECTIVE

ON 02/01/03, I Ryoon, M 7 Teel 143 RECEIVED A 15 MINUTE BLOCK
PRINT NAME/BADGE NUMBER .
OF TRAINING ON” SERIOUS OR UNUSUAL INCIDENT REPORTING DURING THE 2245--

0700hours SHIFT BRIEFING.

Qe wr Saba 143

/BEPUTY SIGNATURE AND BADGE NUMBER

SGT. WILLIAM M. DRECHSEL #284
SHIFT SUPERVISOR/INSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/AINSTRUCTOR

SGT. JOHN GEAS #322 -
SHIFT SUPERVISOR/INSTRUCTOR
Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/44/08 Page 17 of 39.

—-. “POST ORDERS”.
POLICY AND PROCEDURE DIRECTIVE

ON 01 APRIL 2001 1, t Ryan Teel tos (PRINT NAME) ~
DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED A
10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING THE, “POST
~ ORDERS” POLICY AND PROCEDURE DIRECTIVE CONDUCTED BY SGT

STEUBE #154.

(DEPUTY’S SIGNATURE)
~ 01 APRIL 2001 —

‘Case 1:05-cv-00326-LG-JIMR Document 77-3 Filed 08/14/08 Page 18 of 39
&§<CURITY PROMOTION.”
POLICY AND PROCEDURE DIRECTIVE

ON 04 APRIL 2001 1, “Ee } (PRINT NAME) _
"DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED A -
10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING THE,
os “SECURITY PROMOTIONS” POLICY AND PROCEDURE DIRECTIVE

. CONDUCTED BY SGT STEUBE #154.

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wbeuty Ss s{GNATURE)
04 APRIL 2001

Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/£4/08 Page 19 of 39

“PERSONAL PROPERTY IN VE..fORY”
POLICY AND PROCEDURE DIRECTIVE

ON 18 APRIL 2001 1 Derek Re dec! /é5-__(PRINTNAME)
DURING THE SHIFT BRIEFING KOR THE 1845-0700 HOURS SHIFT RECEIVED A
/10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “PERSONAL
PROPERTY INVENTORY” POLICY AND PROCEDURE DIRECTIVE
CONDUCTED BY SGT STEUBE #154.

Dap Ryser Tt Le

(DEPUTY’S SIGNATURE) >
18 APRIL 2001
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Page 20 of

Case 1:05-cv-00326-LG-JMR ~ Document 77: 3. Filed 08/14/08 :Page 21.6f39 ~~”
CUSTODY INQUIRIES:
POLICY AND PROCEDURE DIRECTIVE

ON 15: APRIL 2001 L Ppaty Bren Teel tes _(PRINT NAME)
DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED A
10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “CUSTODY

, INQUIRIES? PC POLICY: AND PROCEDURE DIRECTIVE CONDUCTED BY.
LE WEATHEREC ORD:#15 3. ”

"(DEPUTY S SIGNATURE)
15 APRIL 2001 .

.. Case 1:05-0v-0082GL6 J FREE RE CEE RH Page 22 of 39 .
POLICY AND PROCEDURE DIRECTIVE —

ON 13 APRIL 2001 Ldepeby ® hey “azel 165° (PRINT NAME)

. ‘DURING THE SHIFT BRIEFING F OR THE 1845-0700 HOURS SHIFT RECEIVED A]
10 MINUTE. BLOCK OF INSTRUCTION REVIEW CONCERNING, “BOOKING &
RECEIVING”. POLICY AND PROCEDURE DIRECTIVE CONDUCTED BY LT

WEATHERFORD #YS3:.-

aw aS

(DEPUTY S SIGNATURE)...
2B APRIL 2001

Case 1:05-Cv-00326-LE-JMR | Document 77.
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POLICY AND PROCEDURE DIRECTIVE

ON.10 APRIL 2001 1, Deputy By (PRINT NAME)
DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED A

_ 10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING, “MONTHLY og
|: STATISTICAL: REPORTING” POLICY AND PROCEDURE DIRECTIVE es
"CONDUCTED BY'SGT STEUBE #154.

ate

(DEPUTY’S SIGNATURE):
10 APRIL. 2001

Case 1: 05- -CV- 00326- LG JMR - Document 77-3 Filed og/t4/os | Page 24 of 39 -

a ERSONNEL RECORDS
POLICY AND PROCEDURE DIRECTIVE

ON 09 APRIL 2001 I, Dep. Ryans Tad. yee {PRINT NAME)
_ DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED A’
"10 MINUTE BLOCK OF INSTRUCTION REVIEW CONCERNING THE,

os ‘PERSONNEL RECORDS” POLICY. AND PROCEDURE DIRECTIVE CONDUCTED -

BY. SGT STEUBE #154.

_& ti. Hels
(DEPUTY’S SIGNATURE)
_.09 APRIL 2001

“Case 1205-cv-00326-LG-INR “Document 77:3" Filed 08/14/08" Pagé 25 of 39 ©
“FACILITY GOALS, PURPOSE & ivtISSION” -
POLICY AND PROCEDURE DIRECTIVE

_(PRINT NAME)

ON 05: APRIL 2001 I,
DURING THE SHIFT BRIEFING FOR THE 1845-0700 HOURS SHIFT RECEIVED: A.

oo 10 MINU E BI CK OF INSTRUCTION REVIEW CONCERNING THE, “FACILITY -
: OSE AND MISSION” POLICY AND PROCEDURE. DIRECTIVE.

CONDUCTED BY SGT STEUBE #154.

(DEPUTY’S SIGNATURE)
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“5 Case 4:05-cv-00326-LG-JMR’ Docurhent 77:3 "-Filéd 08/14/08 Page 26-0f 39°: -

“PERSONNEL SELECTION & REN TION” |
POLICY & PROCEDURE DIRECTIVE

ON 31 MARCH 2001 I, Deprehy Ryan” Teel IC x (PRINT NAME)
DURING THE SHIFT BRIEFING FOR THE 1845- 0700 HOURS SHIFT RECEIVED A

oe ia MINUTE BLOCK OF INSTRUCTION REVIEW. CONCERNING THE,
(EL SELECTION & RETENTION” POLICY AND PROCEDURE

DIRECTIVE CONDUCTED BY SGT STEUBE #154.

(DEPUTY’S SIGNATURE)

31 MARGH 2001 -

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30 MARCH 2001

ON 26 MARCH 2001 1 1 Byam eee

getad Bbckea:

26 MARCH 2001

Ese 1:05-cv-00326-l'G-JMR Document 77-3 Filed 09/14/08 Page 29 of 39
ee ksARRISON COUN.Y
SHERIFF’S DEPARTMENT

y Post Office Box 1480
George WH, Paywe: Yr Gulfport, Mississippi 39502
Sherif Lo .

SPECIAL ORDER: # 01-027 -
DATE: JANUARY 19, 2001

~ INDEX AS: SPECIAL TRAINING ASSIGNMENT

SUBJECT: CULTURE DIVERSITY FOR OFFICERS TRAINING

TO: " OFE ICER. MARK ERVIN’: OFFICER GAILYA. BEAL
OFFICER: GEORIA EWING. . _ OFFICER JASON CASE’.
_ OFFICER;RONALD GRAY. OFFICER MICKEY: DILL.
OFF: ICER: BECKY HAGGARD . OFFICER SEAN GARRETT
- OFFICER DEBRA LAMB OFFICER FABIAN LADNER’:
OFFICER ROBIN MARR © _ OFFICER CATHERINE MASON :
OFFICER RICHARD MCELHENY - OFFICER JON MESSER: ©. .
OFFICER KENNETH: ROGERS _ OFFICER CRYSTAL MOORE -
OFFICER JUDY ROTHER — OFFICER WILLIAM PACKARD.
OFFICER: SANDY SMITH OFFICER VERDINA. PEAVY -
OFFICER’ ARCINIO STAN LEY . OFFICER’ ROBERT RHODES --.
OFFICER THEODORE SURETTE. OFFICER MARIE STEVENSON
OEEICER “DERRICK/WASHES Mae OFFICER RYAN TEEL NS*
OFFICER. RICKY YOUNG | - - OFFICER AMY WOLSIRFFER a,
OFFICER. RHONDALYN PUZZ OFFICER TERRANCE CARMICHAEL ot

OFFICER } MATTHEW THIBEAULT OFF ICER DAVID SELLERS

Bach of you bas been scheduled to attend the above ference tr iraining, Tuesday, February 3, .
2001 at the Adult Detention Center. The hours of trajning,will be 0900- 1100 hours. °

_GHP/ds

_ Ce: Major Riley _ .

Boots . Major Cook Deputy: Waldrop. Personnel File Sg a
- Gites as) bivbtGasion Fax: 228) 865-7071 “Dispatch: (228) 865-7060

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Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/14/08 Page 31 of 39

To: MAJOR RILEY
RE: TRAINING
DATE: 11-27-2000

DEAR MAJOR RILEY I AM WRIGHTING YOU IN REGUARDS TO A PPC. INSTRUCTORS
_COURCE. THE COURCE WILL BE HELD DECEMBER 11-15" A4T THE UNIVERSITY OF .
SOUTHERN MISSISSIPPI IN LONGBEACH. I WOULD LIKE TO REQUEST TO ATTEND THIS. -
_ CLASS. I THINK THIS WOULD BE A WAY TO ADVANCE MY LAW ENFORCEMENT CAREAR
_ AND AT THE SAME TIME BENIFITING THE HARRISON COUNTY ADULT DETENTION. -
. THANK YOU
Depry Ryan Teel
Case 1

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Case 1:05-cv-00326-LG-JMR Document 77-3 Filed os/f4/08 Page 35 of 39

Date os fas oo

I deputy Ryan —M, “Teel __. “have received a copy of the . .
Post Order for corrections officer, and J will review and learn all aspects of this

order.

- Signature Rapeon 7 Teel FIGS

Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/14/08 Page 36 of 39

SERVICE TRAINING RECORD

Repoc} boes ting . of / t/. Oo tl cape.

CLASS DATE ~~ LOCATION

On... th, Kelly

HOURS. OF TRAINING ee eT INSTRUCTOR _

_

Teel _ SSN 4as- 3 4PI0"

‘NAME Ryan : :

- gpy. (V{MALE ((() FEMALE. / DOB_oa Lasher

HOME ADDRESS ava. Bis lake Rof HEL

CITY, Bilas _ _ Be STATE. a3 ZR 39603

- TELEPHONE: ‘HOME {yr 4376 oo “OFFICE Pag 3600.

“OFFICERS SIGNATORE_ _ DATE
_ EMERGENCY INFORMATION oy

NAME Kim Teel. ee _ RELATIONSHIP wife ee

fe "TELEPHONE: HOME, Bit 76 a _OFFICE_ i436

Ce oR : INSTRUCTOR COMMENTS

_cLASs HOURS oft teilooTEST SCORE: PRE - So ‘post, _

‘CERTIFIED AREA: oe _ (YES) WO) (PASS) (FAIL)

INSTRUCTORS SIGNATURE DATE

RECORDED: _ _—__ DATE. iY:

Page 37 of 39

Filed 08/44/08

Case 1:05-cv-00326-LG-JIMR | Document 77-3

© coes gio

SHERIFF’S DEPARTMENT

UNIVERSITY OF SOUTHERN MISSISSIPPI - GULF COAST
. TRAINING ACADEMY
Was ib te conbipy that
Ryan Teel

completed. 1.2 hours of instructions in

CRITICAL INCIDENT TRAINING

Iisued this, 28th Day of March, 2000

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Page 38 of 39

Filed 08/14/08

Case 1:05-cv-00326-LG-JM R Document 77-3

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Ryan Teel |

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Case 1:05-cv-00326-LG-JMR Document 77-3 Filed 08/¥4/08 . Page 39 of 39

_ SERVICE TRAINING RECORD

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O709 . TO. O95
HOURS OF TRAINING "INSTRUCTOR

* Lo NAME Ryewn. T Teel SSN YAS= 3/- 970 _

SEK: (x0 MALE. ¢ ) FEMALE DOB OO L234Z7F

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fp ory.B: lox ee a ee STATE AS. ae 39803 |

- E Taare ‘HOME. B22: 43 7 . OFFICE 5 Pie = = 3600. _

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OFFICERS: SIGNATURE, ATE
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_RELATIONSHIP wike Pe

[" TELERHONEY HOME: @PF 3 fs ¥6 fry "OFFICE

“| CEASS HOURS) ‘TEST SCORE: PRE “POST a

5 SD A ee ces) (NO) PASS) a) 3

“INSTRUCTORS SIGNATURE TO 8 DATED

ae RECORDED, oe - . pare BY

oof: ~ INSTRUCTOR COMMENTS _

